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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________
                                   )
JUDICIAL WATCH, INC.,              )
                                   )
      Plaintiff,                   )
                                   )
v.                                 ) Civil Action No. 18-02563 APM
                                   )
DEPARTMENT OF JUSTICE,             )
                                   )
      Defendant.                   )
                                   )


                                   JOINT STATUS REPORT

       Pursuant to this Court’s Order, the parties provide the following update.

Defendant, as of the date of this filing has reviewed approximately 8,837 pages and released 195.

In September 2021 the FBI reviewed 500 pages and released 4 pages. Defendant has planned

another release within 30 days of this filing. The Parties request to be allowed to file a Joint

Status report on or before November 12, 2021.




Dated: October 12, 2021



                                              Respectfully Submitted,


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